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                                   EXHIBIT 3

            1/26/2024, Plaintiff’s Unopposed Motion for Approval of Settlement Agreement
            and Entry of Consent Judgment (Civil Rights Dkt. 62)
                     o Settlement Agreement (Civil Rights Dkt. 62-1)
                     o Proposed Consent Judgment (Civil Rights Dkt. 62-1)
                     o Declaration of John S. Stapleton (Civil Rights Dkt. 62-2)
                     o Declaration of J. Brooks DiDonato (Civil Rights Dkt. 62-3)
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                     UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

                 Plaintiff,                    Civ. A. No. 20-13552-ZNQ-DEA

  v.

  CITY OF TRENTON,
                                               NOTICE OF UNOPPOSED
                 Defendant.                    MOTION FOR APPROVAL OF
                                               SETTLEMENT AGREEMENT
                                               AND ENTRY OF CONSENT
                                               JUDGMENT

       PLEASE TAKE NOTICE that on February 20, 2024, or such date and time

 as counsel may be heard, Plaintiff shall move before the Court for an Order

 approving of the Settlement Agreement and entry of the Consent Judgment as set

 forth herein.

       PLEASE TAKE FURTHER NOTICE that in further support of the Motion,

 Plaintiff will rely upon the Declarations of John S. Stapleton and J. Brooks

 DiDonato, both of which are attached to this Motion.

                                          LeVAN STAPLETON SEGAL
 January 26, 2024                         COCHRAN LLC

                                          By: /s/ John S. Stapleton
                                              John S. Stapleton, ID 032622005
                                          Four Greentree Centre
                                          601 Route 73 N, Suite 303
                                          Marlton, NJ 08053
                                          856.259.3300
                                          jstapleton@levanstapleton.com
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                                            NASH PEREZ LLC

                                            By: /s/ Jeffrey L. Nash
                                                Jeffrey L. Nash
                                            330 Market Street
                                            Camden, NJ 08102
                                            856.246.1022
                                            jnash@nashperez.com

                                            Attorneys for Plaintiff Tyshon Edwards




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                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

              Plaintiff,                       Civ. A. No. 20-13552-ZNQ-DEA

  v.

  CITY OF TRENTON,

              Defendant.

           Unopposed Motion for Approval of Settlement Agreement
                      and Entry of Consent Judgment

       Pursuant to Rule 58 of the Federal Rules of Civil Procedure, Plaintiff Tyshon

 Edwards respectfully moves the Court to review and approve the parties’ Settlement

 Agreement attached as Exhibit 1 and enter the Consent Judgment attached as Exhibit

 1-A as reasonable and entered into in good faith under Griggs v. Bertram, 443 A.2d

 163 (N.J. 1982).

       On September 29, 2020, Plaintiff commenced this civil action (the

 “Litigation”) against Defendant the City of Trenton (“Trenton”) and certain

 individual members of the City of Trenton Police Department. See Complaint, Dkt.

 1. The Complaint asserts various claims arising under federal and state law

 regarding, among other things, Plaintiff’s allegation that his civil rights were

 violated when he was arrested on January 21, 2019, and subsequently jailed for a
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 total of 212 days without lawful basis. All charges against Plaintiff in connection

 with that arrest were later dismissed.

       Since 2020, the parties have vigorously litigated this dispute. They engaged

 in substantial discovery, including numerous document requests under Federal Rule

 of Civil Procedure 34, interrogatories under Federal Rule of Civil Procedure 33,

 requests for admissions under Federal Rule of Civil Procedure 36, depositions of

 certain parties including Plaintiff, and subpoenas to non-parties under Federal Rule

 of Civil Procedure 45, including but not limited to subpoenas served upon the New

 Jersey State Police and the Mercer County Prosecutor’s Office. See Declaration of

 John S. Stapleton, ¶ 3; Declaration of J. Brooks DiDonato, ¶ 3.

       The parties also met and conferred at length regarding discovery disputes in

 this action and appeared and participated in numerous discovery conferences

 conducted by the Court, which are reflected by numerous docket entries on the

 docket. See Stapleton Decl., ¶ 4; DiDonato Decl., ¶ 4.

       The parties also participated in numerous settlement meetings among

 themselves, as well as in settlement conferences conducted by the Court, which are

 reflected by numerous docket entries on the docket. See Stapleton Decl., ¶ 5;

 DiDonato Decl., ¶ 5.




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       Certain Underwriters at Lloyd’s of London (“Underwriters”) subscribe to

 Policy No. PK1021618 (the “Policy”), issued to Trenton, and Trenton sought

 coverage under the Policy regarding the Litigation. See DiDonato Decl., ¶ 6.

       The Policy’s limit of liability for the Law Enforcement Liability Coverage

 Section (Section VIII) is $3,000,000.00 each Occurrence and $6,000,000.00 Annual

 Aggregate of Liability, subject to a $500,000.00 Self Insured Retention (all

 capitalized terms having the same meaning as those used in the Policy). See

 DiDonato Decl., ¶ 7.

       Underwriters denied coverage to Trenton regarding the Litigation, in addition

 to issuing a reservation of rights, and refused to reimburse or indemnify Trenton

 under the Policy. See DiDonato Decl., ¶ 8. Trenton reserved all rights to contest

 Underwriters’ determinations. Id. ¶ 8.

       In addition to denying coverage under the Policy, Underwriters have

 contended that Underwriters’ liability under the Policy would be further subject to a

 $500,000.00 corridor deductible pursuant to Endorsement No. 6 to the Policy

 (“Corridor Deductible”), but Trenton contends that such Corridor Deductible is

 inapplicable, unenforceable, and/or has been misconstrued by Underwriters. See

 DiDonato Decl., ¶ 9.

       Notwithstanding the denial of coverage by Underwriters, the parties and the

 Court solicited and welcomed Underwriters’ participation in a settlement of the

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 Litigation. For example, this Court ordered Underwriters’ counsel’s appearance at a

 settlement conference on May 31, 2023, which was continued to July 18, 2023, at

 the request of Underwriters’ counsel. Underwriters’ counsel appeared on July 18,

 2023, at the Court’s settlement conference, but that settlement conference was

 unsuccessful in resolving the Litigation. See Stapleton Decl., ¶ 7; DiDonato Decl., ¶

 10.

       On August 17, 2023, Plaintiff’s counsel submitted a time-limited demand to

 Underwriters and Plaintiff offered to settle the Litigation within the limits of the

 Policy, which demand expired on its own terms on August 24, 2023, at 12 p.m.

 (eastern), after Underwriters did not respond. See Stapleton Decl., ¶ 8. Underwriters’

 counsel claimed on or about September 22, 2023, that he did not receive a copy of

 the August 17, 2023, time-limited demand letter, and Plaintiff thereafter renewed the

 time-limited demand on September 22, 2023, with terms set to expire on September

 28, 2023, at 5 p.m. (eastern) if not accepted. See Stapleton Decl., ¶ 8. Underwriters

 acknowledged receipt of the time-limited demand letter, but never responded to the

 demand, and the demand expired on its own terms on September 28, 2023, at 5 p.m.

 (eastern). See Stapleton Decl., ¶ 8.

       Trenton privately sought to negotiate with counsel for Underwriters but was

 unsuccessful in ever obtaining Underwriters’ contributions toward any resolution in

 this action. See DiDonato Decl., ¶ 11.

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       During settlement negotiations, Plaintiff identified and produced information

 regarding numerous settlements and verdicts in cases concerning claims for pre-

 conviction, wrongful detentions without any major physical injuries. To

 approximate an apples-to-apples comparison for value, Plaintiff reduced the

 damages award in each case to a per diem rate based on number of days detained.

 When applying the per diem rates from such actions to Plaintiff’s 212 days in jail,

 the average and median awards for such actions was far in excess of the Consent

 Judgment (i.e., $5,000,000.00) submitted for the Court’s approval here. Stapleton

 Decl., ¶ 9.

       Of particular note, while this action was pending, Hamilton Township,

 Trenton’s immediately adjacent neighboring town, settled a wrongful arrest and 11-

 day detention suit for $950,000.00. If Plaintiff here obtained the same per diem rate,

 Plaintiff’s award would be over $18,000,000.00. Hamilton’s resolution was by way

 of settlement, and not a jury verdict, which very possibly could be a higher rate.

 Stapleton Decl., ¶ 10.

       Plaintiff produced the aforementioned analysis to the Court, Defendants’

 counsel, and counsel for Underwriters during settlement discussions. Stapleton

 Decl., ¶ 11.

       No litigation outcome is certain. No two civil actions are identical. However,

 these extremely substantial verdicts and settlements demonstrate that a jury hearing

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 Plaintiff’s claims very possibly could award an eight-figure damages award upon a

 determination of liability.

       Further, in addition to a liability award, if Plaintiff were to prevail in

 demonstrating a violation of his civil rights under 42 U.S.C. § 1983, Plaintiff would

 be entitled to pursue attorneys’ fees and costs under 42 U.S.C. § 1988(b). To date,

 Plaintiff’s attorneys collectively have expended over 900 hours of attorney time on

 this action. Stapleton Decl., ¶ 12. It is reasonable to estimate that Plaintiff’s attorneys

 would expend substantially more hours to litigate this action to verdict. Stapleton

 Decl., ¶ 12. Thus, further litigation exposed Trenton to potential additional liability

 for a very substantial attorneys’ fee award on top of any damages award if the jury

 were to find in Plaintiff’s favor.

       In consultation with the Court during settlement conferences, the parties

 explored the possibility of resolving this action through a Griggs settlement,

 whereby Trenton would consent to entry of judgment of a sum certain, assign to

 Plaintiff all interests it has against Underwriters, and Plaintiff would covenant to not

 execute upon the Consent Judgment against Trenton above a certain limit. Stapleton

 Decl., ¶ 13; DiDonato Decl., ¶ 13.

       By written letter dated December 5, 2023, Trenton informed Underwriters of

 its intention to settle the Litigation in a manner that would exhaust the Self Insured

 Retention and would involve liability to Underwriters under the Policy and for

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  Underwriters’ bad faith denial of coverage, and further encouraged counsel for

  Underwriters to contact counsel for Plaintiff directly. See DiDonato Decl., ¶ 14. But

  Underwriters did not participate in a settlement of the Litigation. See DiDonato

  Decl., ¶ 14.

        On January 17, 2024, Council for the City of Trenton voted and authorized

  the Law Department to enter the Settlement Agreement and execute the

  corresponding Consent Judgment. DiDonato Decl., ¶ 15.

        Under the terms of the Settlement Agreement and Consent Judgment, which

  are attached to this Motion for the Court’s review, Trenton and Plaintiff agreed to,

  among other things, entry of a consent judgment in the amount of $5,000,000.00

  against Trenton only (which is far less than the average and median rates in the

  comparable cases analysis produced by Plaintiff), a covenant by Plaintiff to execute

  against Trenton for not more than $500,000.00, an assignment to Plaintiff of all of

  Trenton’s rights against Underwriters including but not limited to any rights to

  collect upon the Consent Judgment, a provision providing for a $500,000.00

  reduction of any liability by Underwriters should the Corridor Deductible be

  determined to be enforceable in any subsequent litigation, and the reimbursement to

  Trenton of reasonable Defense Costs (as that term is defined in the Policy) from any

  subsequent recovery by Plaintiff upon the occurrence of certain conditions (although



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  in no event will Trenton pay less than $500,000.00 total in settlement and Defense

  Costs, and will always have exhausted the Self Insured Retention).

        Under New Jersey law, where an insurer wrongfully denies coverage to an

  insured, a consent judgment agreed to by the insured may be enforceable by the

  third-party against the insurer if the judgment is reasonable in amount and entered

  into in good faith, regardless of whether the third-party covenants to not collect upon

  the judgment against the insured. See, e.g., Griggs, 443 A.2d at 173–74.

        As agreed to by the parties, the Court’s review and approval of the Settlement

  Agreement and Consent Judgment for reasonableness and good faith under Griggs

  is a necessary precondition to the Settlement Agreement and Consent Judgment. In

  particular, the Court is deeply familiar with the parties’ claims and defenses, the

  vigorousness with which the parties have litigated this action, the parties’ extensive

  efforts to settle this matter, the evidence marshalled to date, and how a reasonable

  jury or factfinder might value Plaintiff’s action, including by way of comparison to

  other comparable verdicts or settlements, and the Court has functioned as an integral

  and neutral arbiter between the parties in the settlement discussions that have

  culminated in the submitted Settlement Agreement and Consent Judgment.

        To be clear, Plaintiff does not request the Court’s determination of whether

  Underwriters wrongfully denied coverage to Trenton. However, if, under New

  Jersey law, the Court finds that the Settlement Agreement and Consent Judgment

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  are reasonable, including in the amount of the Consent Judgment, and that the

  Settlement Agreement and Consent Judgment were entered into in good faith,

  Plaintiff respectfully requests that the Court approve the Settlement Agreement and

  enter the Consent Judgment attached to this Motion as Exhibit 1-A.1

        WHEREFORE, Plaintiff respectfully requests that the Court approve the

  Settlement Agreement and enter the Consent Judgment as reasonable and entered in

  good faith under New Jersey law and Griggs v. Bertram, 443 A.2d 163 (N.J. 1982).

                                                LeVAN STAPLETON SEGAL
  January 26, 2024                              COCHRAN LLC

                                                By: John S. Stapleton
                                                    John S. Stapleton, ID 032622005
                                                Four Greentree Centre
                                                601 Route 73 N, Suite 303
                                                Marlton, NJ 08053
                                                856.259.3300
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                                                NASH PEREZ LLC

                                                By: Jeffrey L. Nash
                                                    Jeffrey L. Nash
                                                330 Market Street
                                                Camden, NJ 08102
                                                856.246.1022
                                                jnash@nashperez.com

                                                Attorneys for Plaintiff Tyshon Edwards

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        As set forth in the attached Certificate of Service, this Motion is being served
  upon counsel for Underwriters.

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                                  SETTLEMENT AGREEMENT

         This Settlement Agreement (“Agreement”) is effective as of the date of January 26, 2024
  (the “Effective Date”), and is made by and between Tyshon Edwards (“Edwards”) on the one
  hand and the City of Trenton, New Jersey (“Trenton”), on the other hand. Edwards and Trenton
  may be referred to herein individually as a “Party,” and collectively, as the “Parties”.

                                           BACKGROUND

         WHEREAS, on or about September 29, 2020, Edwards filed a lawsuit against the Trenton
  and certain individuals of the City of Trenton Police Department, captioned Edwards v. City of
  Trenton, et al., 3:20-cv-13552 (United States District Court, District of New Jersey) (“Litigation”);

         WHEREAS, Certain Underwriters at Lloyd’s of London (“Underwriters”) subscribe to
  Policy No. PK1021618 (the “Policy”), issued to the City of Trenton, NJ (the “City”), and Trenton
  sought coverage under the Policy regarding the Litigation;

         WHEREAS, Underwriters denied coverage to Trenton regarding the Litigation;

          WHEREAS, the Policy’s limit of liability for the Law Enforcement Liability Coverage
  Section (Section VIII) is $3,000,000.00 each Occurrence and $6,000,000.00 Annual Aggregate of
  Liability, subject to a $500,000.00 Self Insured Retention (all capitalized terms having the same
  meaning as those used in the Policy);

         WHEREAS, in addition to denying coverage under the Policy, Underwriters have
  contended that Underwriters’ liability under the Policy would be further subject to a $500,000.00
  corridor deductible pursuant to Endorsement No. 6 to the Policy (“Corridor Deductible”), but
  Trenton contends that such Corridor Deductible is inapplicable, unenforceable, and/or has been
  misconstrued by Underwriters;

        WHEREAS, notwithstanding the denial of coverage by Underwriters, Trenton sought
  Underwriters’ participation in a settlement of the Litigation;

         WHEREAS, the United States District Court for the District of New Jersey (“Court”)
  ordered Underwriters’ counsel’s appearance at a settlement conference on May 31, 2023, but such
  conference was continued to July 18, 2023, at the request of Underwriters’ counsel;

         WHEREAS, Underwriters’ counsel appeared on July 18, 2023, at the Court’s settlement
  conference, but such settlement conference was unsuccessful in resolving the Litigation;

         WHEREAS, on August 17, 2023, Edwards submitted a time-limited demand to
  Underwriters and offered to settle the Litigation within the limits of the Policy, which demand
  expired on its own terms on August 24, 2023, at 12 p.m. (eastern), after Underwriters did not
  respond;
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         WHEREAS, Underwriters’ counsel claimed on or about September 22, 2023, that he did
  not receive a copy of the August 17, 2023, time-limited demand letter, and Edwards thereafter
  renewed the time-limited demand on September 22, 2023, with terms set to expire on September
  28, 2023, at 5 p.m. (eastern) if not accepted;

          WHEREAS, Underwriters acknowledged receipt of the time-limited demand letter, but
  never responded to the demand, and the demand expired on its own terms on September 28, 2023,
  at 5 p.m. (eastern);

           WHEREAS, by written letter dated December 5, 2023, Trenton informed Underwriters of
  its intention to settle the Litigation in a manner that would exhaust the Self Insured Retention and
  will involve liability to Underwriters under the Policy and for Underwriters’ bad faith denial of
  coverage;

         WHEREAS, Underwriters has not participated in a settlement of the Litigation;

         WHEREAS, the Parties vigorously litigated the Litigation, including all claims and
  defenses asserted therein;

         WHEREAS, Trenton and Edwards have agreed to settle the Litigation pursuant to the
  terms and conditions of this Agreement; and

         WHEREAS, the Parties voluntarily and willingly enter into this Agreement.

          NOW, THEREFORE, in consideration of the mutual covenants and promises contained
  herein, the Parties intending to be legally bound hereby agree as follows:

          1.       Background. The Background and all Recitals are incorporated by reference as if
  fully set forth herein.

          2.     Consent Judgment. Subject to approval of the Court for reasonableness and good
  faith under Griggs v. Bertram 443 A.2d 163 (N.J. 1982), the Parties shall enter a stipulated consent
  judgment in the form attached as Exhibit A. Should the Court determine that the Consent Judgment
  is unreasonable or lacking in good faith, this Agreement and the proposed Consent Judgment shall
  be null and void and shall not be admissible in any proceeding.

         3.       Covenant of Limited Execution and Payment. Edwards covenants to not execute
  upon the Consent Judgment directly against Trenton beyond $500,000.00, which sum equals the
  Self Insured Retention under the Policy, and Trenton agrees to pay to Edwards that sum of
  $500,000.00 within 30 days of the entry of the Consent Judgment, which shall be paid to the
  attorney trust account of LeVan Stapleton Segal Cochran LLC.

          4.     Assignment of Rights. To the fullest extent possible under the law, Trenton shall
  assign to Edwards all of Trenton’s rights and claims under the Policy in any manner related to
  coverage for the Litigation and satisfaction of the Consent Judgment, including but not limited to
  claims regarding breach of contract and bad faith for, among other things, denying coverage under
  the Policy, refusing to settle, and refusing to indemnify Trenton (“Assignment”). Edwards shall
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  have sole discretion regarding the prosecution, litigation, and resolution of all such assigned rights
  and claims; however, Trenton agrees to cooperate in good faith with Edwards regarding any such
  prosecution and litigation of the same. This Assignment shall not be effective unless and until the
  Consent Judgment is entered by the Court, but upon such entry of the Consent Judgment, the
  Assignment shall become immediately effective without need of any further event.

           5.      Corridor Deductible. To the extent any court of a competent jurisdiction in a
  binding order finds the Corridor Deductible applicable and enforceable regarding Underwriters’
  liability to satisfy the Consent Judgment, the Corridor Deductible shall be deemed to have the
  Consent Judgment shall be deemed to have been partially satisfied by the Corridor Deductible and
  any liability Underwriters have to satisfy the Consent Judgment shall be reduced by the amount of
  the Corridor Deductible. In other words, in the event of such a finding of the enforceability of the
  Corridor Deductible, of the $5,000,000.00 Consent Judgment, $500,000.00 will have been
  satisfied by Trenton’s payment to Edwards under section 3 above, $500,000.00 will have been
  satisfied by virtue of the finding of the enforceability of the Corridor Deductible under the terms
  of this section, and the Underwriters’ liability to satisfy the Consent Judgment shall be reduced to
  $4,000,000.00 prior to any costs or fees associated with the prosecution of any such claims against
  Underwriters.

         6.      Trenton’s Defense Costs. Trenton represents that it has incurred and paid
  reasonable Defense Costs, as that term is defined by the Policy, that should have eroded the Self
  Insured Retention of the Policy. If Edwards prevails in obtaining any recovery from Underwriters
  based on the Assignment, Edwards will reimburse to Trenton such Defense Costs to the extent
  Underwriters has not and does not reimburse Trenton for such Defense Costs, but only if:

                 (i)    through a final, non-appealable order, Edwards prevails in the
                 argument that Underwriters must reimburse the Defense Costs to Trenton
                 under Coverage Section VIII Law Enforcement Liability – Exclusion B of
                 the Policy and Edwards actually recovers such Defense Costs from
                 Underwriters;

                 (ii)   through a final, non-appealable order, Edwards prevails in the
                 argument that the Corridor Deductible is not applicable or enforceable, and
                 Edwards recovers amounts from Underwriters sufficient to reimburse
                 Trenton for such Defense Costs; or

                 (iii)  Edwards reaches a monetary settlement with Underwriters
                 regarding any assigned claims, in which event Edwards shall pay to Trenton
                 10% of the actual recovery from the settlement up to the sum of Trenton’s
                 Defense Costs.

  In no event shall Trenton recover collectively from Underwriters and Edwards more than the total
  of the Defense Costs, and in no event shall the net total of Trenton’s out-of-pocket expenses related
  to this matter be less than the $500,000.00 Self Insured Retention of the Policy. In other words,
  Trenton’s payment to Edwards under section 3 above, plus its actually paid Defense Costs, minus
  any reimbursement received from Underwriters or Edwards for such Defense Costs or through the
  recovery set forth in this section, shall never be less than $500,000.00. It is the intention of this
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  section and the Agreement that Trenton will at all times fully satisfy and exhaust the Self Insured
  Retention.

          7.      Representations and Warranties. Each of the Parties represents that, other than
  as set forth in this Agreement, he/it has not assigned to any person or entity not a party to this
  Agreement any of the claims, rights, or obligations that are the subject of this Agreement.

         8.      Advice of Counsel. Each Party hereby represents that he/it has read this
  Agreement, has had the provisions fully explained by legal counsel, and is freely and voluntarily
  signing this Agreement upon advice furnished by such Party’s legal counsel.

          9.     Binding Effect. The terms of this Agreement are intended to be, and shall be,
  binding upon and inure to the benefit of the Parties hereto and their respective heirs, personal
  representatives, successors, assigns, attorneys, officers, directors, shareholders, agents, employees,
  insurers, and all other persons, parties or entities affiliated with or identified in interest with the
  said Parties.

          10.    Choice of Law/Interpretation of Agreement/Venue. This Agreement shall be
  construed and enforced in accordance with the laws of the State of New Jersey, without regard to
  New Jersey’s choice of law rules. This Agreement has been drafted by mutual agreement after
  negotiation with the participation of all Parties. The Parties agree, therefore, that no Party shall be
  deemed to have drafted this Agreement or any portion thereof, and that any ambiguity in the
  Agreement will not be construed against any Party on the basis that such Party drafted the subject
  language. Edwards and Trenton hereby consent to personal jurisdiction of the state and federal
  courts in the State of New Jersey for purposes of enforcing this Agreement, and waive any
  objections to personal jurisdiction or venue in those courts.

          11.   Notices. All communications between the Parties that are required or contemplated
  by this Agreement shall be made in writing via email to the following persons:

             (i)     As to Edwards:

                     John S. Stapleton
                     LeVan Stapleton Segal Cochran LLC
                     Four Greentree Centre
                     601 Route 73 N, Suite 303
                     Marlton, NJ 08053
                     Email: jstapleton@levanstapleton.com

             (ii)    As to Trenton:

                     J. Brooks DiDonato
                     Parker McCay P.A.
                     9000 Midlantic Drive, Suite 300
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                     Mount Laurel, NJ 08054
                     Email: bdidonato@parkermccay.com

          12.      Entire Agreement. This Agreement sets forth the entire understanding between
  the Parties relating to the subject matter contained herein, there being no terms, conditions,
  warranties, or representations other than those contained in this Agreement. This Agreement fully
  supersedes any and all prior drafts, proposals, negotiations, agreements, or understandings between
  the Parties relating to the subject matter contained herein, and the Parties expressly agree that none
  of the foregoing shall be utilized in any manner in the construction or interpretation of this
  Agreement or any portion thereof in the event of a dispute arising hereunder. Any modifications
  of this Agreement, Schedules, or Exhibits, or any of their provisions, must be in writing and signed
  by the Parties affected thereby.

         13.      Counterparts. This instrument may be executed in counterparts, and any number
  of duplicate originals, all of which shall constitute one and the same instrument. The executed
  instrument may be delivered by facsimile or electronic mail. Counterparts and duplicate originals
  shall be deemed original instruments, and signatures contained on documents delivered by
  facsimile or electronic mail shall be deemed original signatures.

          14.    Authority. Each person executing this Agreement on behalf of each respective
  Party expressly warrants and represents that he/she is duly authorized to do so in a manner that is
  fully binding upon such Party.


                                                *   *   *

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          IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day and
  year set forth below.



  Tyshon Edwards



                                                Date: __________________




  City of Trenton



  By:                                           Date: __________________
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                             Exhibit A
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                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF NEW JERSEY

   TYSHON EDWARDS,

                  Plaintiff,                               Civ. A. No. 20-13552

   v.

   CITY OF TRENTON,                                        Consent Judgment

                  Defendant.

         Plaintiff Tyshon Edwards and Defendant City of Trenton hereby consent to entry of

  judgment in this matter as follows:

         Judgment shall be entered for Plaintiff on Count III of the Complaint in the amount of

  $5,000,000.00. Such sum is inclusive of any and all attorneys fees and costs allowable by law.

         Plaintiff and Defendant City of Trenton stipulate that $0.00 of this judgment is attributable

  to punitive damages, statutory penalties, or fines, and that Defendant City of Trenton and its agents

  did not knowingly or intentionally violate or deprive Plaintiff of any rights protected by any

  federal, state, or local laws, or commit any acts not reasonably related to the execution and/or

  enforcement of the law, or commit any acts with the knowledge and intent to cause injury or

  damage or which could reasonably be expected to cause injury or damage.

         All other claims versus Defendant City of Trenton are dismissed with prejudice.


    Dated January 26, 2024

    LeVAN STAPLETON SEGAL                              CITY OF TRENTON
    COCHRAN LLC
                                                       By: Wesley Bridges
    By: John S. Stapleton                                   Wesley Bridges
         John S. Stapleton                             319 East State Street
    Four Greentree Centre                              Trenton, NJ 08608
    602 Route 73 N, Suite 303                          609-989-3011
    Marlton, NJ 08503                                  wbridges@trentonnj.org
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    856-259-3300                                    Counsel for Defendant, City of Trenton
    jstapleton@levanstapleton.com
    Counsel for Plaintiff Tyshon Edwards

    NASH PEREZ LLC

    By: Jeffrey L. Nash
        Jeffrey L. Nash
    330 Market Street
    Camden, NJ 08102
    856.246.1022
    jnash@nashperez.com
    Counsel for Plaintiff Tyshon Edwards



         The Court having heard from the parties and having previously found [on the record on

  _________ OR by order dated ______________] that the parties’ settlement agreement and the

  terms of this Consent Judgment are reasonable and entered in good faith under Griggs v. Bertram

  443 A.2d 163 (N.J. 1982), the Court hereby APPROVES this Consent Judgment.

  IT IS SO ORDERED.

  ___________________________________
  The Honorable Douglas E. Arpert
  United States Magistrate Judge
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                      UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF NEW JERSEY

   TYSHON EDWARDS,

                Plaintiff,                      Civ. A. No. 20-13552-ZNQ-DEA

   v.

   CITY OF TRENTON,
                                                DECLARATION OF JOHN S.
                Defendant.                      STAPLETON

        I, John S. Stapleton, being duly sworn and deposed, upon personal knowledge,

  state as follows:

        1.     I am a partner of the law firm LeVan Stapleton Segal Cochran LLC,

  and I am lead counsel to Plaintiff Tyshon Edwards in the above-captioned matter.

        2.     On September 29, 2020, Plaintiff commenced this civil action (the

  “Litigation”) against Defendants the City of Trenton (“Trenton”) and certain

  individual members of the City of Trenton Police Department. See Complaint, Dkt.

  1. The Complaint asserts various claims arising under federal and state law

  regarding, among other things, Plaintiff’s allegation that his civil rights were

  violated when he was arrested on January 21, 2019, and subsequently jailed for a

  total of 212 days without lawful basis. All charges against Plaintiff in connection

  with that arrest were later dismissed.

        3.     Since 2020, the parties have vigorously litigated this dispute. They

  engaged in substantial discovery, including numerous document requests under
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  Federal Rule of Civil Procedure 34, interrogatories under Federal Rule of Civil

  Procedure 33, requests for admissions under Federal Rule of Civil Procedure 36,

  depositions of certain parties including Plaintiff, and subpoenas to non-parties under

  Federal Rule of Civil Procedure 45, including but not limited to subpoenas served

  upon the New Jersey State Police and the Mercer County Prosecutor’s Office.

        4.     The parties also met and conferred at length regarding discovery

  disputes in this action and appeared and participated in numerous discovery

  conferences conducted by the Court, which are reflected by numerous docket entries

  on the docket.

        5.     The parties also participated in numerous settlement meetings among

  themselves, as well as in settlement conferences conducted by the Court, which are

  reflected by numerous docket entries on the docket.

        6.     Certain Underwriters at Lloyd’s of London (“Underwriters”) subscribe

  to Policy No. PK1021618 (the “Policy”), issued to Trenton.

        7.     Notwithstanding the denial of coverage to Trenton by Underwriters, the

  parties and the Court solicited and welcomed Underwriters’ participation in a

  settlement of the Litigation. For example, this Court ordered Underwriters’ counsel’s

  appearance at a settlement conference on May 31, 2023, which was continued to

  July 18, 2023, at the request of Underwriters’ counsel. Underwriters’ counsel



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  appeared on July 18, 2023, at the Court’s settlement conference, but that settlement

  conference was unsuccessful in resolving the Litigation.

        8.    On August 17, 2023, I submitted a time-limited demand to

  Underwriters and Plaintiff offered to settle the Litigation within the limits of the

  Policy, which demand expired on its own terms on August 24, 2023, at 12 p.m.

  (eastern), after Underwriters did not respond. Underwriters’ counsel claimed on or

  about September 22, 2023, that he did not receive a copy of the August 17, 2023,

  time-limited demand letter, and Plaintiff thereafter renewed the time-limited demand

  on September 22, 2023, with terms set to expire on September 28, 2023, at 5 p.m.

  (eastern) if not accepted. Underwriters acknowledged receipt of the time-limited

  demand letter, but never responded to the demand, and the demand expired on its

  own terms on September 28, 2023, at 5 p.m. (eastern).

        9.    During settlement negotiations, Plaintiff identified and produced

  information regarding numerous settlements and verdicts in cases concerning claims

  for pre-conviction, wrongful detentions without any major physical injuries. To

  approximate an apples-to-apples comparison for value, Plaintiff reduced the

  damages award in each case to a per diem rate based on number of days detained.

  When applying the per diem rates from such actions to Plaintiff’s 212 days in jail,

  the average and median awards for such actions would be far in excess of the

  Consent Judgment (i.e., $5,000,000.00) submitted for the Court’s approval here.

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        10.    Of particular note, while this action was pending, Hamilton Township,

  Trenton’s immediately adjacent neighboring town, settled a wrongful arrest and 11-

  day detention suit for $950,000.00. If Plaintiff here obtained the same per diem rate,

  Plaintiff’s award would be over $18,000,000.00. Hamilton’s resolution was by way

  of settlement, and not a jury verdict, which very possibly could be a higher rate.

        11.    Plaintiff produced the aforementioned analysis to the Court,

  Defendants’ counsel, and counsel for Underwriters during settlement discussions.

        12.    The Complaint also demands all attorneys’ fees and costs recoverable

  under law. To date, Plaintiff’s attorneys collectively have expended over 900 hours

  of attorney time on this action. I reasonably estimate that Plaintiff’s attorneys would

  expend substantially more hours to litigate this action to verdict.

        13.    In consultation with the Court during settlement conferences, the

  parties explored the possibility of resolving this action through a Griggs settlement,

  see Griggs v. Bertram, 443 A.2d 163 (N.J. 1982), whereby Trenton would consent

  to entry of judgment of a sum certain, assign to Plaintiff all interests it has against

  Underwriters, and Plaintiff would covenant to not execute upon the Consent

  Judgment against Trenton above a certain limit.

        14.    On January 26, 2024, the parties executed the Settlement Agreement

  and corresponding Consent Judgment.



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        15.    As agreed to by the parties, the Court’s review and approval of the

  Settlement Agreement and Consent Judgment for reasonableness and good faith

  under Griggs is a necessary precondition to the Settlement Agreement and Consent

  Judgment.

        16.    In particular, the Court is deeply familiar with the parties’ claims and

  defenses, the vigorousness with which the parties have litigated this action, the

  parties’ extensive efforts to settle this matter, the evidence marshalled to date, and

  how a reasonable jury or factfinder might value Plaintiff’s action, including by way

  of comparison to other comparable verdicts or settlements, and the Court has

  functioned as an integral and neutral arbiter between the parties in the settlement

  discussions that have culminated in the submitted Settlement Agreement and

  Consent Judgment.

        17.    To be clear, Plaintiff does not request the Court’s determination of

  whether Underwriters wrongfully denied coverage to Trenton.

        18.    However, if, under New Jersey law, the Court finds that the Settlement

  Agreement and Consent Judgment are reasonable, including in the amount of the

  Consent Judgment, and that the Settlement Agreement and Consent Judgment were

  entered into in good faith, Plaintiff respectfully requests that the Court approve the

  Settlement Agreement and enter the Consent Judgment.



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        I certify that the foregoing statements made by me are true. I am aware that if

  any of the foregoing statements made by me are willfully false, I am subject to

  punishment.



  January 26, 2024                                    John S. Stapleton
                                                      John S. Stapleton




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                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

                Plaintiff,                        Civ. A. No. 20-13552-ZNQ-DEA

  v.

  CITY OF TRENTON,
                                                  DECLARATION OF J.
                Defendant.                        BROOKS DIDONATO

        I, J. Brooks DiDonato, being duly sworn and deposed, upon personal

  knowledge, state as follows:

        1.     I am a partner of the law firm Parker McCay P.A., and I am lead counsel

  to Defendants Johnathon Cincilla, Nicholas Mahan, Eric Avalos, and Anthony

  Kubish in the above-captioned matter.

        2.     I have also represented the City of Trenton concerning its interests in

  seeking insurance coverage regarding this Litigation.

        3.     Since 2020, the parties have vigorously litigated this dispute. They

  engaged in substantial discovery, including numerous document requests under

  Federal Rule of Civil Procedure 34, interrogatories under Federal Rule of Civil

  Procedure 33, requests for admissions under Federal Rule of Civil Procedure 36,

  depositions of certain parties including Plaintiff, and subpoenas to non-parties under

  Federal Rule of Civil Procedure 45, including but not limited to subpoenas served

  upon the New Jersey State Police and the Mercer County Prosecutor’s Office.
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        4.    The parties also met and conferred at length regarding discovery

  disputes in this action and appeared and participated in numerous discovery

  conferences conducted by the Court, which are reflected by numerous docket entries

  on the docket.

        5.    The parties also participated in numerous settlement meetings among

  themselves, as well as in settlement conferences conducted by the Court, which are

  reflected by numerous docket entries on the docket.

        6.    Certain Underwriters at Lloyd’s of London (“Underwriters”) subscribe

  to Policy No. PK1021618 (the “Policy”), issued to Trenton, and Trenton sought

  coverage under the Policy regarding the Litigation.

        7.    The Policy’s limit of liability for the Law Enforcement Liability

  Coverage Section (Section VIII) is $3,000,000.00 each Occurrence and

  $6,000,000.00 Annual Aggregate of Liability, subject to a $500,000.00 Self Insured

  Retention (all capitalized terms having the same meaning as those used in the

  Policy).

        8.    Underwriters denied coverage to Trenton regarding the Litigation, in

  addition to issuing a reservation of rights, and refused to reimburse or indemnify

  Trenton under the Policy. Trenton reserved all rights to contest Underwriters’

  determinations.



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        9.     In addition to denying coverage under the Policy, Underwriters have

  contended that Underwriters’ liability under the Policy would be further subject to a

  $500,000.00 corridor deductible pursuant to Endorsement No. 6 to the Policy

  (“Corridor Deductible”), but Trenton contends that such Corridor Deductible is

  inapplicable, unenforceable, and/or has been misconstrued by Underwriters.

        10.    Notwithstanding the denial of coverage by Underwriters, the parties

  and the Court solicited and welcomed Underwriters’ participation in a settlement of

  the Litigation. For example, this Court ordered Underwriters’ counsel’s appearance

  at a settlement conference on May 31, 2023, which was continued to July 18, 2023,

  at the request of Underwriters’ counsel. Underwriters’ counsel appeared on July 18,

  2023, at the Court’s settlement conference, but that settlement conference was

  unsuccessful in resolving the Litigation.

        11.    Trenton privately sought to negotiate with counsel for Underwriters but

  was unsuccessful in ever obtaining Underwriters’ contributions toward any

  resolution in this action.

        12.    During settlement negotiations, Plaintiff identified and produced

  information regarding numerous settlements and verdicts in cases concerning claims

  for pre-conviction, wrongful detentions without any major physical injuries. Plaintiff

  produced the aforementioned analysis to the Court, Defendants’ counsel, and

  counsel for Underwriters.

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        13.    In consultation with the Court during settlement conferences, the

  parties explored the possibility of resolving this action through a Griggs settlement,

  see Griggs v. Bertram, 443 A.2d 163 (N.J. 1982), whereby Trenton would consent

  to entry of judgment of a sum certain, assign to Plaintiff all interests it has against

  Underwriters, and Plaintiff would covenant to not execute upon the Consent

  Judgment against Trenton above a certain limit.

        14.    By written letter dated December 5, 2023, Trenton informed

  Underwriters of its intention to settle the Litigation in a manner that would exhaust

  the Self Insured Retention and would involve liability to Underwriters under the

  Policy and for Underwriters’ bad faith denial of coverage, and further encouraged

  counsel for Underwriters to contact counsel for Plaintiff directly. But Underwriters

  did not participate in a settlement of the Litigation.

        15.    On January 17, 2024, Council for the City of Trenton voted and

  authorized the Law Department to enter the Settlement Agreement and execute the

  corresponding Consent Judgment.

        16.    On January 26, 2024, the parties executed the Settlement Agreement

  and corresponding Consent Judgment.

        17.    As agreed to by the parties, the Court’s review and approval of the

  Settlement Agreement and Consent Judgment for reasonableness and good faith



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  under Griggs is a necessary precondition to the Settlement Agreement and Consent

  Judgment.

        I certify that the foregoing statements made by me are true. I am aware that if

  any of the foregoing statements made by me are willfully false, I am subject to

  punishment.



  January 26, 2024                                     J. Brooks DiDonato
                                                      J. Brooks DiDonato




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                                 Certificate of Service
        I, John S. Stapleton, certify that on this date, I caused the foregoing Motion to

  be served upon all counsel of record through the Court’s ECF system. In addition, I

  caused a copy of the foregoing Motion to be served upon the following:


                            Via Certified Mail and Email
                                   David L. Koury
                                   BatesCarey LLP
                              191 N. Wacker, Suite 2400
                                  Chicago, IL 60606
                                Direct 312.762.3226
                               dkoury@batescarey.com
                               Counsel for Underwriters


  January 26, 2024                              John S. Stapleton
                                                John S. Stapleton
